Case 8:22-ml-03052-JVS-KES Document 107 Filed 05/18/23 Page 1 of 5 Page ID #:2892




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   16                                         Consumer Class Action Leadership and
                                              Counsel for Plaintiffs
   17
   18                      UNITED STATES DISTRICT COURT
   19                    CENTRAL DISTRICT OF CALIFORNIA
   20
   21 In re: KIA HYUNDAI VEHICLE               Case No. 8:22-ML-3052-JVS(KESx)
      THEFT MARKETING, SALES
   22 PRACTICES, AND PRODUCTS                  The Honorable James V. Selna
      LIABILITY LITIGATION
   23
   24                                          JOINT STATEMENT AND
   25                                          STIPULATION OF SETTLEMENT
   26 This document relates to:
                                               [PROPOSED] ORDER
   27 CONSUMER CLASS ACTION
   28

                                            -1-             Case No. 8:22-ML-3052-JVS(KESx)
                                         JOINT STATEMENT AND STIPULATION OF SETTLEMENT
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    1        The Consumer Plaintiffs and Defendants are pleased to inform the Court that
    2 they have reached a settlement-in-principle of the consumer class action claims. This
    3 agreement follows months of negotiations, including multiple mediation sessions with
    4 the Court-appointed Mediator, Hon. Margaret M. Morrow (ret.), of Judicate West. The
    5 settling parties are in the process of documenting the agreement. The Consumer
    6 Plaintiffs intend to move for preliminary approval by July 10, 2023.
    7        In light of the proposed settlement, Defendants and the Consumer Plaintiffs
    8 stipulate that further briefing on Defendants’ motion to dismiss (Dkt. 95) be stayed, as
    9 well as any other deadlines involving the consumer cases unrelated to settlement
   10 approval.
   11
   12 Dated: May 18, 2023
   13
      By: /s/ Steve W. Berman                       By: /s/Shon Morgan
   14         Steve W. Berman, Esq.                        Shon Morgan
              HAGENS BERMAN SOBOL                          QUINN EMANUEL URQUHART
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   18 By: /s/ Elizabeth A. Fegan                    By: /s/Peter J. Brennan
              Elizabeth A. Fegan, Esq.                     Peter J. Brennan
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   21
   22                                                       Counsel for Defendants
      By: /s/ Kenneth B. McClain
   23       Kenneth B. McClain, Esq.
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   26       Independence, MO 64050
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      By:/s/ Roland Tellis
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             Consumer Class Action Leadership Counsel
    7        and Counsel for Plaintiffs
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    1                               [PROPOSED] ORDER
    2        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.                            Briefing on
    3 Defendants’ motion to dismiss (Dkt. 95) and all other deadlines in all consumer cases
    4 unrelated to settlement approval are stayed. The Consumer Plaintiffs will move for
    5 preliminary approval by July 10, 2023.
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    8
    9 DATED:____________________, 2023                    ___________________________
                                                             Honorable James V. Selna
   10
                                                            United States District Judge
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    1                              FILER’S ATTESTATION
    2        Pursuant to C.D. Cal. L.R. 5-4.3.4(a)(2)(i), I, Shon Morgan, attest that all other
    3 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
    4 content and have authorized the filing.
    5
    6                                                /s/ Shon Morgan
                                                     Shon Morgan
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                                                -5-             Case No. 8:22-ML-3052-JVS(KESx)
                                             JOINT STATEMENT AND STIPULATION OF SETTLEMENT
